 Case 5:21-cv-00616-JWH-SP Document 202-1 Filed 10/04/22 Page 1 of 2 Page ID #:3728




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7
8                          UNITED STATES DISTRICT COURT
9                        CENTRAL DISTRICT OF CALIFORNIA
10
      GOLDWATER BANK, NA,                         5:21-cv-616-JWH-SPx
11
                                     Plaintiff,
12                                   [PROPOSED] ORDER RE: MOTION
13    vs.                            FOR REVIEW OF MAGISTRATE
                                     JUDGE’S RULING ON A NON-
14    ARTUR ELIZAROV, ET AL.,        DISPOSITIVE MOTION, TO WIT:
15                        Defendant. TO QUASH SUBPOENA DUCES
16                                   TECUM TO RITE CARE HOSPICE,
                                     INC. [191]
17
18                                                Date: 11/18/2022
19                                                Time: 9:00 am
                                                  Court: Hon. John W. Holcomb
20
21          Based on the evidence presented and arguments of counsel, the court finds
22   good cause, GRANTS the motion, and ORDERS as follows:
23          1.    The order of Magistrate Judge Sheri Pym [191] denying defendant
24   Artur Elizarov’s motion to quash Goldwater Bank, National Association’s
25   subpoena duces tecum to Rite Care Hospice, Inc. [176] is GRANTED.
26          2.    The order of Magistrate Judge Sheri Pym [191] is set aside.
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                                              1
       [PROPOSED] ORDER RE: MOTION FOR REVIEW OF MAGISTRATE JUDGE’S RULING ON A NON-
     DISPOSITIVE MOTION, TO WIT: TO QUASH SUBPOENA DUCES TECUM TO RITE CARE HOSPICE, INC.
                                             [191]
 Case 5:21-cv-00616-JWH-SP Document 202-1 Filed 10/04/22 Page 2 of 2 Page ID #:3729




1          3.    The court entered a new and separate order as follows: defendant
2    Artur Elizarov’s motion to quash Goldwater Bank, National Association’s
3    subpoena duces tecum to Rite Care Hospice, Inc. [176] is GRANTED.
4          IT IS SO ORDERED.
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8    Dated:                          Signature:
                                               Hon. John W. Holcomb, District Judge
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       [PROPOSED] ORDER RE: MOTION FOR REVIEW OF MAGISTRATE JUDGE’S RULING ON A NON-
     DISPOSITIVE MOTION, TO WIT: TO QUASH SUBPOENA DUCES TECUM TO RITE CARE HOSPICE, INC.
                                             [191]
